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1               UNITED STATES DISTRICT COURT
2              NORTHERN DISTRICT OF CALIFORNIA
3                    SAN FRANCISCO DIVISION
4
5    ------------------------
6    ORACLE AMERICA, INC.,             )
7                Plaintiff,            )
8    vs.                               ) No. CV 10-03561 WHA
9    GOOGLE, INC.,                     )
10               Defendant.            )
11   ------------------------
12
13
14         HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
15
16
17           VIDEOTAPED DEPOSITION OF HASAN RIZVI
18                  THURSDAY, JULY 28, 2011
19
20
21   REPORTED BY:
22   JANIS JENNINGS, CSR 3942, CLR, CCRR
23
24
25   PAGES 1 - 275

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 1   further discussions?                                      1       A. Yes.
 2      A. I don't remember the exact words, but the           2       Q. Who is that?
 3   third discussion itself was, like I said, a               3       A. That is that privileged?
 4   non discussion. There was nothing really to               4          MR. NORTON: Do you mind if we take a
 5   discuss, so as we left the meeting, there wasn't          5   short break?
 6   anything scheduled as a follow up.                        6          MR. PURCELL: Sure.
 7      Q. Did Mr. Rubin say anything at that third            7   BY MR. PURCELL:
 8   meeting to indicate to Oracle that Google was no          8       Q. I mean, just so it's clear, I'm not asking
 9   longer interested in discussing a potential business      9   anything Oracle's lawyers might have told you. But
10   solution?                                                10   if you learned of the fact of a meeting between
11      A. Again, I don't remember the exact words,           11   Google and Oracle about a certain subject, the fact
12   but the I don't remember the exact words, no.            12   of the meeting between Google and Oracle isn't
13      Q. Did Mr. Rubin give any indication, verbal          13   privileged.
14   or otherwise, that Google was not interested in          14          MR. NORTON: I I think he's already
15   continuing the discussions after that third meeting?     15   answered that question, though. On to another
16      A. From what I recall, he said this is                16   question about the substance of the communication,
17   again, not necessarily his words, but the                17   if there if there was one, so
18   implication was that this is a non starter, there is     18          MR. PURCELL: Well, it would be the
19   really nothing to discuss given the range of the         19   substance of the communication between Google and
20   business that we are talking about. That's the           20   Oracle, which isn't privileged. That's all I want
21   that's the recollection I have.                          21   to know.
22      Q. Do you mean that he suggested that it was          22          MR. NORTON: Again, I just don't think
23   a non starter for Google to compensate Oracle in the     23   that was the question.
24   range of $300 to $500 million?                           24          MR. PURCELL: Okay. Well, let me ask
25      A. That's                                             25   let me ask the question, then.
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 1          MR. NORTON: Objection to form.                     1   BY MR. PURCELL:
 2          You can answer.                                    2      Q. Are you aware I think you already said
 3          THE WITNESS: Yeah. That's kind of the              3   you are aware of communications between Oracle and
 4   way I remember it, yeah.                                  4   Google after the third meeting you had with
 5   BY MR. PURCELL:                                           5   Mr. Rubin about a potential business solution;
 6      Q. Did Mr. Rubin suggest a different range in          6   correct?
 7   which Google might be willing to compensate Oracle?       7      A. Yes.
 8      A. Not that I remember, no.                            8      Q. What what was discussed at that meeting
 9      Q. Did Oracle attempt to make any follow up            9   between Oracle and Google?
10   with Mr. Rubin after the third meeting prior to the      10      A. I don't know.
11   filing of this lawsuit?                                  11           MR. NORTON: Objection. To the extent
12      A. I don't know about Oracle, but I didn't.           12   that your knowledge of the contents of that
13      Q. Are you aware of anyone else from Oracle           13   meeting to the extent you know that only from
14   following up with Mr. Rubin about a potential            14   communications with attorneys, then I'm going to
15   business solution prior to this lawsuit being filed?     15   assert the privilege and ask you not to answer that
16          MR. NORTON: Objection to form.                    16   question.
17          THE WITNESS: With Mr. Rubin, no. I'm              17           MR. PURCELL: Counsel, I don't want to
18   not I don't know who it would I don't know if            18   argue with you in detail, but I just think that
19   anybody followed up with Mr. Rubin.                      19   instruction is overbroad. If he learns of a
20   BY MR. PURCELL:                                          20   nonprivileged fact through a lawyer, that doesn't
21      Q. Are you aware from of strike that.                 21   make the fact privileged. And all I'm trying to ask
22          Are you aware of anybody at Oracle                22   for is the nonprivileged fact regarding the
23   following up with anybody at Google regarding a          23   communications between Google and Oracle.
24   potential business solution prior to this lawsuit        24           MR. NORTON: Let's take a break and I can
25   being filed?                                             25   see if I can
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